Case 2:02-CV-02736-.]DB Document 75 Filed 08/03/05 Page 1 of 3 Page|D 93
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IN THE UNITED sTATES DIsTRiCT COURT *
FOR THE WESTERN DISTRICT OF TENNESSEE AT MEMPH'_I*S !RUS -3 PH 31 LzU

 

HATTIE ISEN,
RENA CHILDRESS, and
BEVERLEY TAYLOR,

 

Plaintiffs,

v. NO. 02-2736 Bre

BOARD OF EDUCATION OF THE
MEMPHIS CITY SCHOOLS,

Defendant,

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Upon Stipulation of Dismissal submitted by the parties, pursuant to FRCP 41(:1), it is

hereby,

ORDERED, that the complaint filed by the Plaintiff in this matter is dismissed With prejudice

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0 J. Daniel Breen \`
Uni d States District Court Judge

Date

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APPROVED FOR ENTRY:

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UNITED sATES DISTRIC COURT - W'"TRN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 75 in
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Honorable .1. Breen
US DISTRICT COURT

